                               Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 1 of 51

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                   Southern District of Texas


 Case number (if known):                                            Chapter        11                                                        ❑Check if this is an
                                                                                                                                                amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                               04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For more
information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



   1. Debtor's name                               Preferred Ready-Mix LLC



   2. All other names debtor used
      in the last 8 years

      Include any assumed names,
      trade names, and doing
      business
      as names



   3. Debtor's federal Employer                   8      3 – 3     5       4   6   3    4   1
      Identification Number (EIN)



   4. Debtor's address                            Principal place of business                                      Mailing address, if different from principal place of
                                                                                                                   business


                                                  Number            Street                                         Number         Street

                                                   8750 Scranton Street
                                                                                                                   P.O. Box
                                                   Houston, TX 77041
                                                  City                                      State   ZIP Code
                                                                                                                   City                                State     ZIP Code

                                                   Harris                                                          Location of principal assets, if different from principal
                                                  County                                                           place of business


                                                                                                                   Number         Street




                                                                                                                   City                                State     ZIP Code




   5. Debtor's website (URL)



   6. Type of debtor                              ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 1
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Debtor      Preferred Ready-Mix LLC                                                                                 Case number (if known)
           Name
                                                A. Check one:
   7. Describe debtor's business
                                                ❑Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    4     8   4    1

   8. Under which chapter of the                Check one:
      Bankruptcy Code is the                    ❑    Chapter 7
      debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V of           ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     chapter 11 (whether or not the debtor is                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than $2,725,625. If
     a “small business debtor”) must check                   this sub-box is selected, attach the most recent balance sheet, statement of operations, cash-flow
     the second sub-box                                      statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).
                                                       ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                             (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                             under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return, or if any of these documents
                                                             do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑     A plan is being filed with this petition.

                                                       ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in accordance
                                                             with 11 U.S.C. § 1126(b).
                                                       ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                             Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                             Form 201A) with this form.
                                                       ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

   9. Were prior bankruptcy cases filed by      ✔ No
                                                ❑
      or against the debtor within the last 8
      years?
                                                ❑Yes. District                                           When                    Case number
                                                                                                                MM / DD / YYYY
     If more than 2 cases, attach a separate               District                                      When                     Case number
     list.                                                                                                       MM / DD / YYYY


  10. Are any bankruptcy cases pending or       ✔ No
                                                ❑
      being filed by a business partner or
      an affiliate of the debtor?               ❑Yes. Debtor                                                                     Relationship

                                                           District                                                               When
     List all cases. If more than 1, attach a
                                                                                                                                                MM / DD / YYYY
     separate list.
                                                           Case number, if known




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                          page 2
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Debtor      Preferred Ready-Mix LLC                                                                              Case number (if known)
           Name


  11. Why is the case filed in this     Check all that apply:
      district?
                                        ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                        ❑
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                        ❑A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have       ✔ No
                                        ❑
      possession of any real property
      or personal property that needs
                                        ❑Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      immediate attention?                         Why does the property need immediate attention? (Check all that apply.)
                                                   ❑   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?


                                                   ❑   It needs to be physically secured or protected from the weather.
                                                   ❑   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for
                                                       example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   ❑   Other
                                                   Where is the property?
                                                                             Number          Street




                                                                             City                                            State      ZIP Code
                                                  Is the property insured?
                                                   ❑No
                                                   ❑Yes.        Insurance agency
                                                                Contact name
                                                                Phone

         Statistical and administrative information

      13. Debtor’s estimation of        Check one:
          available funds?              ❑Funds will be available for distribution to unsecured creditors.
                                        ✔After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                        ❑
      14. Estimated number of           ✔ 1-49 ❑ 50-99
                                        ❑                                    ❑ 1,000-5,000 ❑ 5,001-10,000                ❑ 25,001-50,000 ❑ 50,000-100,000
          creditors                     ❑ 100-199 ❑ 200-999                  ❑ 10,001-25,000                             ❑ More than 100,000

      15. Estimated assets               ❑    $0-$50,000                        ❑     $1,000,001-$10 million                   ❑     $500,000,001-$1 billion
                                         ❑    $50,001-$100,000                  ❑     $10,000,001-$50 million                  ❑     $1,000,000,001-$10 billion
                                         ❑    $100,001-$500,000                 ❑     $50,000,001-$100 million                 ❑     $10,000,000,001-$50 billion
                                         ✔
                                         ❑    $500,001-$1 million               ❑     $100,000,001-$500 million                ❑     More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                           Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 4 of 51

Debtor      Preferred Ready-Mix LLC                                                                                   Case number (if known)
           Name




                                            ❑    $0-$50,000                            ❑   $1,000,001-$10 million                     ❑    $500,000,001-$1 billion
      16. Estimated liabilities
                                            ❑    $50,001-$100,000                      ❑   $10,000,001-$50 million                    ❑    $1,000,000,001-$10 billion
                                            ❑    $100,001-$500,000                     ❑   $50,000,001-$100 million                   ❑    $10,000,000,001-$50 billion
                                            ✔
                                            ❑    $500,001-$1 million                   ❑   $100,000,001-$500 million                  ❑    More than $50 billion



         Request for Relief, Declaration, and Signatures


 WARNING --         Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
                    for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


      17. Declaration and signature of               The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
          authorized representative of
          debtor                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true and
                                                     correct.

                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                    Executed on     10/14/2021
                                                                    MM/ DD/ YYYY



                                                ✘ /s/ Lincoln M. Catchings, III                                          Printed name
                                                                                                                                          Lincoln M. Catchings, III
                                                    Signature of authorized representative of debtor


                                                    Title                       Vice President



      18. Signature of attorney
                                                ✘                            /s/ Jessica Hoff                            Date 10/14/2021
                                                                                                                                   MM/ DD/ YYYY
                                                    Signature of attorney for debtor



                                                     Jessica Hoff
                                                    Printed name

                                                     Hoff Law Offices, P.C.
                                                    Firm name

                                                     440 Louisiana St 850
                                                    Number          Street


                                                     Houston                                                                 TX               77002
                                                    City                                                                     State            ZIP Code



                                                     (720) 739-3599                                                           jhoff@hofflawoffices.com
                                                    Contact phone                                                             Email address



                                                     24093963                                                                 TX
                                                    Bar number                                                                State




Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 4
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 Fill in this information to identify the case:

 Debtor name                              Preferred Ready-Mix LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas


 Case number (if known):                                                                                                                  ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated
assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and
case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts
from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑No. Go to Part 2.
       ✔Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor's
                                                                                                                                              interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                 Type of account                     Last 4 digits of account number
       3.1 Chase                                                         Checking account                           0766                                  ($11,237.54)

       Additional Page Total - See continuation page for additional entries                                                                                    ($169.20)

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                              ($11,406.74)
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ❑No. Go to Part 3.
       ✔Yes. Fill in the information below.
       ❑
                                                                                                                                              Current value of debtor's
                                                                                                                                              interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       7.1 Alisons Inc LLC                                                                                                                                       $3,100.00




Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                             page 1
                               Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 6 of 51

Debtor        Preferred Ready-Mix LLC                                                                                   Case number (if known)
              Name


  8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

         None


  9.     Total of Part 2
                                                                                                                                                                $3,100.00
         Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10.     Does the debtor have any accounts receivable?
          ✔ No. Go to Part 4.
          ❑
          ❑Yes. Fill in the information below.

                                                                                                                                                 Current value of debtor's
                                                                                                                                                 interest

  11.    Accounts Receivable

         11a. 90 days old or less:                                           -                                            = ...... ➔
                                       face amount                                 doubtful or uncollectible accounts



         11b. Over 90 days old:                                              -                                            = ...... ➔
                                       face amount                                 doubtful or uncollectible accounts


  12.    Total of Part 3
                                                                                                                                                                    $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13.     Does the debtor own any investments?
          ✔ No. Go to Part 5.
          ❑
          ❑Yes. Fill in the information below.

                                                                                                                  Valuation method used for      Current value of debtor's
                                                                                                                  current value                  interest

  14.     Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

          None


  15.    Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture
          Name of fund or stock:                                                           % of ownership:

          None


  16.    Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1
          Describe:

Official Form 106A/B                                                                  Schedule A/B: Property                                                    page 2
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Debtor       Preferred Ready-Mix LLC                                                                            Case number (if known)
             Name



         None


  17.    Total of Part 4
                                                                                                                                                            $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18.    Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑Yes. Fill in the information below.

         General description                                    Date of the last          Net book value of   Valuation method used      Current value of debtor's
                                                                physical inventory        debtor's interest   for current value          interest
                                                                                          (Where available)


  19.    Raw materials

         None

  20.    Work in progress

         None

  21.    Finished goods, including goods held for resale

         None

  22.    Other inventory or supplies

         None

  23.    Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                              $0.00


  24.    Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑Yes
  25.    Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  26.    Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27.    Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑Yes. Fill in the information below.


Official Form 106A/B                                                              Schedule A/B: Property                                                page 3
                               Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 8 of 51

Debtor        Preferred Ready-Mix LLC                                                                           Case number (if known)
             Name



         General description                                                          Net book value of       Valuation method used      Current value of debtor's
                                                                                      debtor's interest       for current value          interest
                                                                                          (Where available)


  28.    Crops — either planted or harvested

         None


  29.    Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30.    Farm machinery and equipment (Other than titled motor vehicles)

         None

  31.    Farm and fishing supplies, chemicals, and feed

         None


  32.    Other farming and fishing-related property not already listed in Part 6

         None

  33.    Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                                $0.00


  34.    Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑Yes. Is any of the debtor's property stored at the cooperative?
            ❑No
            ❑Yes

  35.    Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  36.    Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑Yes
  37.    Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38.    Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑No. Go to Part 8.
         ✔Yes. Fill in the information below.
         ❑



Official Form 106A/B                                                           Schedule A/B: Property                                                   page 4
                               Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 9 of 51

Debtor        Preferred Ready-Mix LLC                                                                            Case number (if known)
             Name



         General description                                                               Net book value of   Valuation method used      Current value of debtor's
                                                                                           debtor's interest   for current value          interest
                                                                                           (Where available)


  39.    Office furniture

         39.1 File cabinets, chairs, desks, cubicle stations                                       (Unknown)                                             $5,000.00


  40.    Office fixtures

         None


  41.    Office equipment, including all computer equipment and
         communication systems equipment and software

              TV, computers, printers, AC unit, Refridgerator, security                            (Unknown)                                             $6,000.00
         41.1 cameras


  42.    Collectibles Examples: Antiques and figurines; paintings, prints or other
         artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
         or baseball card collections; other collections, memorabilia, or collectibles


         None


  43.    Total of Part 7
                                                                                                                                                        $11,000.00
         Add lines 39 through 42. Copy the total to line 86.

  44.    Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑Yes
  45.    Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 8: Machinery, equipment, and vehicles


  46.    Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑No. Go to Part 9.
         ✔Yes. Fill in the information below.
         ❑
         General description                                                               Net book value of   Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or         debtor's interest   for current value          interest
         N-number)                                                                         (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


         47.1 2003 Ford F25 / VIN: 1FTNF20F23EA34954 Mechanics Truck                               (Unknown)                                           $100,000.00


         47.2 1999 Peterbilt 357 / VIN: 1NPAL00X6YD500525 Mixer Truck                              (Unknown)                                            $50,000.00




Official Form 106A/B                                                               Schedule A/B: Property                                                page 5
                             Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 10 of 51

Debtor        Preferred Ready-Mix LLC                                                                                 Case number (if known)
             Name



         47.3 1997 Peterbilt 379 / VIN: 1NPAL70X7VD440436 Mixer Truck                              (Unknown)                                                 $50,000.00


         Additional Page Total - See continuation page for additional entries                                                                               $380,000.00

  48.    Watercraft, trailers, motors, and related accessories Examples: Boats,
         trailers, motors, floating homes, personal watercraft, and fishing vessels


         None


  49. Aircraft and accessories

         None


  50.    Other machinery, fixtures, and equipment (excluding farm machinery
         and equipment)

         None


  51.    Total of Part 8
                                                                                                                                                            $580,000.00
         Add lines 47 through 50. Copy the total to line 87.

  52.    Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑Yes

  53.    Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 9: Real Property


  54.    Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑Yes. Fill in the information below.

         General description                                    Nature and extent of      Net book value of        Valuation method used       Current value of debtor's
         Include street address or other description such as    debtor's interest in      debtor's interest        for current value           interest
         Assessor Parcel Number (APN), and type of property     property                  (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56.    Total of Part 9
                                                                                                                                                                  $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57.    Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑Yes


Official Form 106A/B                                                              Schedule A/B: Property                                                      page 6
                             Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 11 of 51

Debtor        Preferred Ready-Mix LLC                                                                              Case number (if known)
             Name


  58.    Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 10: Intangibles and Intellectual Property


  59.    Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑Yes. Fill in the information below.

         General description                                                           Net book value of       Valuation method used        Current value of debtor's
                                                                                       debtor's interest       for current value            interest
                                                                                       (Where available)


  60.    Patents, copyrights, trademarks, and trade secrets

         None

  61.    Internet domain names and websites

         None


  62.    Licenses, franchises, and royalties

         None

  63.    Customer lists, mailing lists, or other compilations

         None


  64.    Other intangibles, or intellectual property

         None

  65.    Goodwill

         None


  66.    Total of Part 10
                                                                                                                                                               $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67.    Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑Yes
  68.    Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑Yes
  69.    Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes



Official Form 106A/B                                                          Schedule A/B: Property                                                       page 7
                             Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 12 of 51

Debtor        Preferred Ready-Mix LLC                                                                       Case number (if known)
             Name




 Part 11: All other assets


  70.    Does the debtor own any other assets that have not yet been reported on this form?
         ❑No. Go to Part 12.
         ✔Yes. Fill in the information below.
         ❑

                                                                                                                                     Current value of debtor's
                                                                                                                                     interest

  71.    Notes receivable
         Description (include name of obligor)

         None


  72.    Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73.    Interests in insurance policies or annuities

         None


  74.    Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75.    Other contingent and unliquidated claims or causes of action of every nature,
         including counterclaims of the debtor and rights to set off claims

         None


  76.    Trusts, equitable or future interests in property

         None


  77.    Other property of any kind not already listed Examples: Season tickets,
         country club membership

         77.1 Shipping storage container                                                                                                              $500.00


         Other Property Total - See continuation page for entries                                                                                   $5,000.00

  78.    Total of Part 11
                                                                                                                                                    $5,500.00
         Add lines 71 through 77. Copy the total to line 90.

  79.    Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes




Official Form 106A/B                                                          Schedule A/B: Property                                                page 8
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Debtor         Preferred Ready-Mix LLC                                                                                                           Case number (if known)
              Name



 Part 12: Summary


         Type of property                                                                            Current value of                                Current value
                                                                                                     personal property                               of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                              ($11,406.74)

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                    $3,100.00

  82. Accounts receivable. Copy line 12, Part 3.                                                                            $0.00

  83. Investments. Copy line 17, Part 4.                                                                                    $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                      $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                             $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy line
      43, Part 7.                                                                                                      $11,000.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $580,000.00


                                                                                                                                          ➔                             $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                         $0.00

  90. All other assets. Copy line 78, Part 11.                                                  +                       $5,500.00



  91. Total. Add lines 80 through 90 for each column......                                  91a.                      $588,193.26       + 91b.                          $0.00



                                                                                                                                                                                  $588,193.26
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                            Schedule A/B: Assets — Real and Personal Property                                               page 9
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Debtor        Preferred Ready-Mix LLC                                                                            Case number (if known)
              Name



           Additional Page


         All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of debtor's
                                                                                                                                          interest

  3.     Checking, savings, money market, or financial brokerage accounts - Continued
         Name of institution (bank or brokerage firm)               Type of account                   Last 4 digits of account number
         3.2 Chase                                                        Checking account                        1977                                    $507.62

         3.3 Chase                                                        Checking account                        6192                                   ($676.82)

         3.4 Chase                                                        Checking account                        7028                                      $0.00


         General description                                                           Net book value of      Valuation method used       Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or     debtor's interest      for current value           interest
         N-number)                                                                     (Where available)

  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles - Continued

         47.4 1996 Kenworth / VIN: 1NKWL90X7TS671675 Mixer Truck                                (Unknown)                                               $50,000.00

         47.5 1999 Peterbilt / VIN: 1NPAL00X4XD494173 Mixer Truck                               (Unknown)                                               $50,000.00

         47.6 2000 Peterbilt / VIN: 1NPAL00X4YD535435 Mixer Truck                               (Unknown)                                               $50,000.00

         47.7 1999 Peterbilt / VIN: 1NPAL90X3XD494167 Mixer Truck                               (Unknown)                                               $50,000.00

         47.8 2005 Peterbilt / VIN: 1NPAL50X25D875465 Mixer Truck                               (Unknown)                                               $80,000.00

         47.9 1999 Peterbilt / VIN: 1NPAL00X4YD522751 Mixer Truck                               (Unknown)                                               $50,000.00

         47.10 2000 Peterbilt / VIN: 1NPAL00X0YD522746 Mixer Truck                              (Unknown)                                               $50,000.00


                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  77. Other property of any kind not already listed - Continued
         77.2 Tools                                                                                                                                      $5,000.00




Official Form 106A/B                                                             Schedule A/B: Property                                                 page 10
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 Fill in this information to identify the case:

 Debtor name                                 Preferred Ready-Mix LLC

 United States Bankruptcy Court for the:
                                     Southern District of Texas


 Case number (if known):                                                                                                                       ❑Check if this is an
                                                                                                                                                   amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      ❑No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim,        Column A                   Column B
        list the creditor separately for each claim.
                                                                                                                                Amount of claim            Value of collateral
                                                                                                                                Do not deduct the          that supports this
                                                                                                                                value of collateral.       claim

2.1 Creditor’s name                                               Describe debtor’s property that is subject to a lien                    $13,433.19                   unknown
    BlueVine Capital                                              Describe the lien
                                                                  Business Debt
        Creditor's mailing address
                                                                  Is the creditor an insider or related party?
        401 Warren St. Suite 300                                  ❑✔ No
         Redwood City, CA 94063                                   ❑Yes.
        Creditor's email address, if known                        Is anyone else liable on this claim?
                                                                  ❑No
        Date debt was incurred                                    ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Last 4 digits of account                           As of the petition filing date, the claim is:
        number                                             Check all that apply.
                                                           ❑Contingent
                                                           ❑Unliquidated
        Do multiple creditors have an interest in the same
        property?
        ✔ No.
        ❑                                                  ❑Disputed
        ❑Yes. Specify each creditor, including this creditor,
                and its relative priority.


 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
        Page, if any.                                                                                                                      $54,396.73




Official Form 206D                                           Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
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Debtor     Preferred Ready-Mix LLC                                                                                Case number (if known)
           Name

                                                                                                                         Column A                Column B
 Part 1: Additional Page
                                                                                                                         Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                Do not deduct the       that supports this
 page.                                                                                                                   value of collateral.    claim

2.2 Creditor’s name                                        Describe debtor’s property that is subject to a lien                      $8,963.54               unknown
    FundThrough USA Inc                                    Describe the lien
                                                           Business Debt
     Creditor's mailing address
                                                           Is the creditor an insider or related party?
      260 Spadina Avenue                                   ❑✔ No
      Toronto, ON, Canada m5t 2e4,                         ❑Yes.
     Creditor's email address, if known                    Is anyone else liable on this claim?
                                                           ❑No
     Date debt was incurred       06/29/2021               ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                           As of the petition filing date, the claim is:
     number                                             Check all that apply.
     Do multiple creditors have an interest in the same ❑Contingent
     property?                                          ❑Unliquidated
     ✔ No.
     ❑                                                  ❑Disputed
     ❑Yes. Have you already specified the relative
             priority?

     Remarks: Secured by all of Debtor's owned accounts, Chattel Paper, Deposit Accounts, Inventory, Equipment,
     Instruments, Investment Property, Documents, Letter of Credit Rights, Commercial Tort Claims, Reserve
     Accounts, and General Intangibles and the proceeds thereof.



2.3 Creditor’s name                                        Describe debtor’s property that is subject to a lien                     $22,000.00               unknown
    Intuit Quickbooks
                                                           Describe the lien
                                                           Business Debt
     Creditor's mailing address
                                                           Is the creditor an insider or related party?
                                                            ✔ No
      2700 Coast Avenue
                                                           ❑
                                                           ❑Yes.
      Mountain View, CA 94043

     Creditor's email address, if known
                                                           Is anyone else liable on this claim?
                                                           ❑✔ No
     Date debt was incurred                                ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account                           As of the petition filing date, the claim is:
     number                                             Check all that apply.
                                                        ❑Contingent
     Do multiple creditors have an interest in the same ❑Unliquidated
     property?                                          ❑Disputed
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?




Official Form 206D                             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 4
                          Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 17 of 51

Debtor     Preferred Ready-Mix LLC                                                                               Case number (if known)
           Name

                                                                                                                        Column A                Column B
 Part 1: Additional Page
                                                                                                                        Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous               Do not deduct the       that supports this
 page.                                                                                                                  value of collateral.    claim

2.4 Creditor’s name                                       Describe debtor’s property that is subject to a lien                     $10,000.00               unknown
    WEX Bank
                                                          Describe the lien
                                                          Business Debt
     Creditor's mailing address
                                                          Is the creditor an insider or related party?
                                                           ✔ No
      Exxon Mobil
                                                          ❑
                                                          ❑Yes.
      Po Box 4337
      Carol Stream, IL 60197-4337
                                                          Is anyone else liable on this claim?
     Creditor's email address, if known                   ❑✔ No
                                                          ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Date debt was incurred                             As of the petition filing date, the claim is:
                                                        Check all that apply.
     Last 4 digits of account
                                                        ❑Contingent
                                                        ❑Unliquidated
     number

     Do multiple creditors have an interest in the same ❑Disputed
     property?
     ✔ No.
     ❑
     ❑Yes. Have you already specified the relative
             priority?




Official Form 206D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 4
                           Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 18 of 51

Debtor      Preferred Ready-Mix LLC                                                                             Case number (if known)
           Name
 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.
 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

     Name and address                                                                                         On which line in Part 1      Last 4 digits of
                                                                                                              did you enter the related    account number for
                                                                                                              creditor?                    this entity


                                                                                                              Line




Official Form 206D                            Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 4
                              Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 19 of 51

 Fill in this information to identify the case:

 Debtor name                              Preferred Ready-Mix LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas


 Case number (if known):                                                                                                                  ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔No. Go to Part 2.
        ❑
        ❑Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
       priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                    Total claim                    Priority amount

       Priority creditor’s name and mailing address             As of the petition filing date, the claim is:
2.1                                                             Check all that apply.
                                                                ❑ Contingent
                                                                ❑ Unliquidated
                                                                ❑ Disputed
                                                                Basis for the claim:
       Date or dates debt was incurred

                                                                Is the claim subject to offset?
       Last 4 digits of account                                 ❑ No
       number                                                   ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address             As of the petition filing date, the claim is:
2.2                                                             Check all that apply.
                                                                ❑ Contingent
                                                                ❑ Unliquidated
                                                                ❑ Disputed
                                                                Basis for the claim:
       Date or dates debt was incurred

                                                                Is the claim subject to offset?
       Last 4 digits of account                                 ❑ No
       number                                                   ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 8
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Debtor        Preferred Ready-Mix LLC                                                                               Case number (if known)
            Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.   List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out
       and attach the Additional Page of Part 2.
                                                                                                                                              Amount of claim

3.1 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $1,879.84
       Active Radiator                                                         Check all that apply.
                                                                               ❑ Contingent
       3675 Amber Street                                                       ❑ Unliquidated
                                                                               ❑ Disputed
       Philadelphia, PA 19134
                                                                               Basis for the claim: Business debt
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
3.2 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $28,508.80
       AG Barn Management, LLC                                                 Check all that apply.
                                                                               ❑ Contingent
       PO Box 409                                                              ❑ Unliquidated
                                                                               ❑ Disputed
       Mayfield, KY 42066
                                                                               Basis for the claim: Business debt
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
3.3 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   unknown
       Alisons Inc                                                             Check all that apply.
                                                                               ❑ Contingent
       1220 Shotwell Street                                                    ❑ Unliquidated
                                                                               ❑ Disputed
       Houston, TX 77020
                                                                               Basis for the claim: Property Lease
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred          04/01/2021                     ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes

       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   unknown
3.4                                                                            Check all that apply.
       AT&T
                                                                               ❑ Contingent
       208 S Akard Street                                                      ❑ Unliquidated
                                                                               ❑ Disputed
       Dallas, TX 75202
                                                                               Basis for the claim: Internet Service
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $17,747.17
3.5                                                                            Check all that apply.
       Bank Direct Capital Finance
                                                                               ❑ Contingent
       150 N Field Drive Ste 190                                               ❑ Unliquidated
                                                                               ❑ Disputed
       Lake Forest, IL 60045
                                                                               Basis for the claim: Business debt
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 2 of 8
                            Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 21 of 51

Debtor        Preferred Ready-Mix LLC                                                                         Case number (if known)
             Name




 Part 2: Additional Page

3.6      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $180,000.00
         Cameron Roesle                                                    Check all that apply.
                                                                           ❑ Contingent
         10457 Royal Andrews Drive                                         ❑ Unliquidated
                                                                           ❑ Disputed
         Conroe, TX 77303
                                                                           Basis for the claim: Judgment Lien
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.7      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
         Cirro Energy                                                      Check all that apply.
                                                                           ❑ Contingent
         2745 Dallas Parkway Suite 200                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Plano, TX 75093
                                                                           Basis for the claim: Utility
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.8      Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $14,207.85
         Con-Tech Manufacturing Inc.                                       Check all that apply.
                                                                           ❑ Contingent
         67079 170th Avenue                                                ❑ Unliquidated
                                                                           ❑ Disputed
         Dodge Center, MN 55927
                                                                           Basis for the claim: Business debt
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $14,000.00
3.9                                                                        Check all that apply.
         Deon Wallace
                                                                           ❑ Contingent
         2911 Ashlyn Arbor Drive                                           ❑ Unliquidated
                                                                           ❑ Disputed
         Fresno, TX 77545
                                                                           Basis for the claim: Business debt
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $8,936.22
3.10                                                                       Check all that apply.
         Gulfgate Dodge
                                                                           ❑ Contingent
         7250 Gulf Fwy                                                     ❑ Unliquidated
                                                                           ❑ Disputed
         Houston, TX 77017
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3 of 8
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Debtor        Preferred Ready-Mix LLC                                                                         Case number (if known)
             Name




 Part 2: Additional Page

3.11 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $4,500.00
         Lopez Concrete Chipping                                           Check all that apply.
                                                                           ❑ Contingent
         7802 Pecan Villas Drive                                           ❑ Unliquidated
                                                                           ❑ Disputed
         Houston, TX 77061
                                                                           Basis for the claim: Business debt
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.12 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $7,027.69
         Mai & Na PLLC                                                     Check all that apply.
                                                                           ❑ Contingent
         6588 Corporate Drive Ste 188                                      ❑ Unliquidated
                                                                           ❑ Disputed
         Houston, TX 77036
                                                                           Basis for the claim: Business debt
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.13 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $54,386.53
         Matthew Tyson                                                     Check all that apply.
                                                                           ❑ Contingent
         5511 Olympiad Drive                                               ❑ Unliquidated
                                                                           ❑ Disputed
         Houston, TX 77041
                                                                           Basis for the claim: Business debt
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $1,171.64
3.14                                                                       Check all that apply.
         McNielius Truck & Manufacturing Company
                                                                           ❑ Contingent
         14201 Collections Center Drive                                    ❑ Unliquidated
                                                                           ❑ Disputed
         Chicago, IL 60693
                                                                           Basis for the claim: Business debt
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $33,900.00
3.15                                                                       Check all that apply.
         Medellin Concrete Chipping Ser, Inc.
                                                                           ❑ Contingent
         PO Box 225                                                        ❑ Unliquidated
                                                                           ❑ Disputed
         South Houston, TX 77587
                                                                           Basis for the claim: Business debt
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4 of 8
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Debtor        Preferred Ready-Mix LLC                                                                         Case number (if known)
             Name




 Part 2: Additional Page

3.16 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $45,619.00
         Rhino Ready Mix LLC                                               Check all that apply.
                                                                           ❑ Contingent
         6638 Madden Lane                                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Houston, TX 77048
                                                                           Basis for the claim: Business debt
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.17 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               unknown
         Robert W. Berleth, Receiver                                       Check all that apply.
                                                                           ❑ Contingent
         9950 Cypresswood Drive Suite 200                                  ❑ Unliquidated
                                                                           ❑ Disputed
         Houston, TX 77070
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.18 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $8,000.00
         Texas Truck Parts                                                 Check all that apply.
                                                                           ❑ Contingent
         2802 N Wayside Drive                                              ❑ Unliquidated
                                                                           ❑ Disputed
         Houston, TX 77020
                                                                           Basis for the claim: Business debt
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $444,381.01
3.19                                                                       Check all that apply.
         Texcon Ready Mix
                                                                           ❑ Contingent
         2078 FM 1314                                                      ❑ Unliquidated
                                                                           ❑ Disputed
         Porter, TX 77365
                                                                           Basis for the claim: Business debt
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               unknown
3.20                                                                       Check all that apply.
         Verizon Reveal
                                                                           ❑ Contingent
         1095 Avenue of the Americas                                       ❑ Unliquidated
                                                                           ❑ Disputed
         New York, NY 10036
                                                                           Basis for the claim: GPS Service for trucks
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                         page 5 of 8
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Debtor        Preferred Ready-Mix LLC                                                                     Case number (if known)
             Name




 Part 2: Additional Page

3.21 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $30,000.00
         Wayne Tyson                                                   Check all that apply.
                                                                       ❑ Contingent
         19238 San Solomon Springs Court                               ❑ Unliquidated
                                                                       ❑ Disputed
         Cypress, TX 77433
                                                                       Basis for the claim: Business debt
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6 of 8
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Debtor        Preferred Ready-Mix LLC                                                                            Case number (if known)
             Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
    assignees of claims listed above, and attorneys for unsecured creditors.
   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


         Name and mailing address                                                      On which line in Part 1 or Part 2 is the related            Last 4 digits of
                                                                                       creditor (if any) listed?                                   account number,
                                                                                                                                                   if any

 4.1     Jeff Kaiser, Esq.                                                            Line 3.19

         2211 Norfolk Street Suite 528                                                ❑ Not listed. Explain
         Houston, TX 77098




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 7 of 8
                           Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 26 of 51

Debtor       Preferred Ready-Mix LLC                                                                  Case number (if known)
             Name


 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                      Total of claim amounts



  5a. Total claims from Part 1                                                        5a.              $0.00




  5b. Total claims from Part 2                                                        5b.              $894,265.75
                                                                                             +

  5c. Total of Parts 1 and 2                                                          5c.              $894,265.75
      Lines 5a + 5b = 5c.




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                     page 8 of 8
                              Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 27 of 51

 Fill in this information to identify the case:

 Debtor name                              Preferred Ready-Mix LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas


 Case number (if known):                                           Chapter   11                                                          ❑Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
       ❑
 2. List all contracts and unexpired leases                                                    State the name and mailing address for all other parties with whom the
                                                                                               debtor has an executory contract or unexpired lease

        State what the contract or lease is       Property Lease                               Alisons Inc LLC
2.1     for and the nature of the debtor’s
        interest                                  Contract to be ASSUMED                       1220 Shotwell Street

        State the term remaining                                                               Houston, TX 77020
                                                  17 months
        List the contract number of any
        government contract

        State what the contract or lease is       Transportation Agreement                     Cemex Const Materials Houston, LLC
2.2     for and the nature of the debtor’s
        interest                                  Contract to be ASSUMED
        State the term remaining                  0 months                                     TX

        List the contract number of any
        government contract

        State what the contract or lease is       Contractor Agreement                         Campbell Concrete & Materials LLC
2.3     for and the nature of the debtor’s
        interest                                  Contract to be ASSUMED                       16155 Park Row Suite 120

        State the term remaining                                                               Houston, TX 77084
                                                  0 months
        List the contract number of any
        government contract

        State what the contract or lease is
2.4     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.5     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract




Official Form 206G                                            Schedule G: Executory Contracts and Unexpired Leases                                               page 1 of 1
                              Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 28 of 51

 Fill in this information to identify the case:

 Debtor name                              Preferred Ready-Mix LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas


 Case number (if known):                                                                                                                 ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.


  1. Does the debtor have any codebtors?
        ❑No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔Yes
        ❑
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules
     D-G.Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the
     codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                         Column 2: Creditor
                                                                                                                                                     Check all schedules
            Name                                   Mailing Address                                                  Name
                                                                                                                                                     that apply:

  2.1     Foran, Robert                           9526 BonBrook Bend Lane                                           BlueVine Capital                   ✔D
                                                                                                                                                       ❑
                                                  Street
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                  Richmond, TX 77469
                                                  City                                State         ZIP Code
                                                                                                                    FundThrough USA Inc                ✔D
                                                                                                                                                       ❑
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                                                                                    Rhino Ready Mix LLC                ❑D
                                                                                                                                                       ✔E/F
                                                                                                                                                       ❑
                                                                                                                                                       ❑G
                                                                                                                    Con-Tech Manufacturing Inc.        ❑D
                                                                                                                                                       ✔E/F
                                                                                                                                                       ❑
                                                                                                                                                       ❑G
                                                                                                                    Texcon Ready Mix                   ❑D
                                                                                                                                                       ✔E/F
                                                                                                                                                       ❑
                                                                                                                                                       ❑G
                                                                                                                    Cameron Roesle                     ❑D
                                                                                                                                                       ✔E/F
                                                                                                                                                       ❑
                                                                                                                                                       ❑G
                                                                                                                    Robert W. Berleth, Receiver        ❑D
                                                                                                                                                       ✔E/F
                                                                                                                                                       ❑
                                                                                                                                                       ❑G




Official Form 206H                                                          Schedule H: Codebtors                                                             page 1 of 2
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Debtor      Preferred Ready-Mix LLC                                                                      Case number (if known)
            Name


          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                  Check all schedules
         Name                         Mailing Address                                                     Name
                                                                                                                                  that apply:

  2.2
                                        Street




                                        City                                   State        ZIP Code




  2.3
                                        Street




                                        City                                   State        ZIP Code




  2.4
                                        Street




                                        City                                   State        ZIP Code




  2.5
                                        Street




                                        City                                   State        ZIP Code




  2.6
                                        Street




                                        City                                   State        ZIP Code




Official Form 206H                                                     Schedule H: Codebtors                                                page 2 of 2
                                          Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 30 of 51


 Fill in this information to identify the case:

 Debtor name                                                Preferred Ready-Mix LLC

 United States Bankruptcy Court for the:
                                                 Southern District of Texas


 Case number (if known):                                                                         Chapter           11                                                                                 ❑Check if this is an
                                                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                             12/15

 Part 1: Summary of Assets


 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
            Copy line 88 from Schedule A/B........................................................................................................................................                                                 $0.00


    1b. Total personal property:
            Copy line 91A from Schedule A/B......................................................................................................................................                                            $588,193.26

    1c. Total of all property:
            Copy line 92 from Schedule A/B.........................................................................................................................................                                          $588,193.26




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                              $54,396.73



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
            Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                     $0.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                             +              $894,265.75




 4. Total liabilities..............................................................................................................................................................................                          $948,662.48

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                                      Summary of Assets and Liabilities for Non-Individuals                                                                    page 1
                              Case 21-33369 Document 1 Filed in TXSB on 10/14/21 Page 31 of 51

 Fill in this information to identify the case:

 Debtor name                              Preferred Ready-Mix LLC

 United States Bankruptcy Court for the:
                                    Southern District of Texas


 Case number (if known):                                                                                                                   ❑Check if this is an
                                                                                                                                              amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                                04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑None
        Identify the beginning and ending dates of the debtor’s fiscal year, which may        Sources of revenue                         Gross revenue
        be a calendar year                                                                    Check all that apply                       (before deductions and
                                                                                                                                         exclusions)

       From the beginning of the                                                             ✔ Operating a business
                                                                                             ❑                                                                 $726,113.80
       fiscal year to filing date:         From 01/01/2021
                                                  MM/ DD/ YYYY
                                                                  to    Filing date
                                                                                             ❑Other

       For prior year:                     From 01/01/2020        to    12/31/2020           ✔ Operating a business
                                                                                             ❑                                                             $2,385,284.28
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY       ❑Other

       For the year before that:           From 01/01/2019        to    12/31/2019           ✔ Operating a business
                                                                                             ❑                                                                 $217,240.00
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY       ❑Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List
         each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔None
         ❑
                                                                                             Description of sources of revenue           Gross revenue from each
                                                                                                                                         source
                                                                                                                                         (before deductions and
                                                                                                                                         exclusions)

      From the beginning of the
      fiscal year to filing date:        From 01/01/2021         to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                    From 01/01/2020         to    12/31/2020
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:          From 01/01/2019         to    12/31/2019
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 1
 Debtor 1
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                                                                                      number (if known)
                          First Name           Middle Name               Last Name


 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing this case
        unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with
        respect to cases filed on or after the date of adjustment.)

        ✔None
        ❑
         Creditor’s name and address                           Dates                Total amount or value             Reasons for payment or transfer
                                                                                                                      Check all that apply

 3.1.                                                                                                                 ❑Secured debt
        Creditor's name                                                                                               ❑Unsecured loan repayments
                                                                                                                      ❑Suppliers or vendors
                                                                                                                      ❑Services
        Street

                                                                                                                      ❑Other
        City                           State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or co-signed by an
        insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every
        3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and
        anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such
        affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔None
        ❑
         Insider’s name and address                            Dates                Total amount or value             Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                           State    ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure
        sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ❑None
         Creditor’s name and address                           Description of the property                                   Date                      Value of property


 5.1. Cameron Roesle                                           Mechanic Truck: 2003 Ford F25; Mixer Trucks:                  09/30/2021                      $450,000.00
      Creditor's name                                          1999 Peterbilt 357, 1997 Peterbilt 379, 1999
        10457 Royal Andrews Drive                              Peterbilt, 2000 Peterbilt, 1999 Peterbilt, 1999
        Street                                                 Peterbilt, and 2000 Peterbilt


        Conroe, TX 77303
        City                           State    ZIP Code

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                  page 2
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                                                                                      number (if known)
                          First Name            Middle Name               Last Name



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor
        without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔None
        ❑
         Creditor’s name and address                            Description of the action creditor took                        Date action was           Amount
                                                                                                                               taken

 6.1.
        Creditor's name
                                                                 XXXX–
        Street




        City                           State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity
         —within 1 year before filing this case.
        ❑None
 7.1.    Case title                                 Nature of case                              Court or agency's name and address                       Status of case

        Cameron Roesle vs Robert                   Collection Action against former           400th Judicial District, Fort Bend County, TX             ❑Pending
                                                                                                                                                        ❑On appeal
        Foran & Nolan Star Trucking                employer, Nolan Star Trucking              Name
        LLC                                        LLC. Debtor named in the suit.
                                                                                              Street
                                                                                                                                                        ✔Concluded
                                                                                                                                                        ❑
         Case number

        19-DCV-267154                                                                         City                           State     ZIP Code

 7.2.    Case title                                 Nature of case                              Court or agency's name and address                       Status of case

        Texcon Ready Mix vs Preferred              Collection Action                          400th Judicial District, Fort Bend County, TX             ✔Pending
                                                                                                                                                        ❑
                                                                                                                                                        ❑On appeal
        Ready-Mix                                                                             Name


                                                                                              Street
                                                                                                                                                        ❑Concluded
         Case number

        2020-77612
                                                                                              City                           State     ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver,
        custodian, or other court-appointed officer within 1 year before filing this case.
        ❑None




Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                    page 3
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                                                                                     number (if known)
                        First Name              Middle Name                 Last Name

 8.1.     Custodian’s name and address                         Description of the property                             Value

         Robert W. Berleth
         Custodian’s name
         9950 Cypresswood Drive Ste 200                        Case title                                              Court name and address
         Street
                                                                                                                      400th Judicial District, Fort Bend County, TX
                                                                                                                      Name
         Houston, TX 77070
         City                          State     ZIP Code      Case number                                            Street




                                                               Date of order or assignment                            City                          State     ZIP Code


                                                              06/24/2020



 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to
         that recipient is less than $1,000
         ✔None
         ❑
 9.1.     Recipient’s name and address                          Description of the gifts or contributions                      Dates given          Value


         Recipient’s name


         Street




         City                          State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔None
         ❑
           Description of the property lost and how the            Amount of payments received for the loss                          Date of loss       Value of property
           loss occurred                                           If you have received payments to cover the loss, for                                 lost
                                                                   example, from insurance, government compensation, or
                                                                   tort liability, list the total received.
                                                                   List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                   Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to
         another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
         ❑None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                  page 4
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                                                                                     number (if known)
                        First Name              Middle Name                Last Name

 11.1.    Who was paid or who received the transfer?                   If not money, describe any property transferred             Dates                 Total amount or
                                                                                                                                                         value

         Jessica Hoff                                                 Legal Fee


          Address

         440 Louisiana St Ste 850
         Street


         Houston, TX 77002-1664
         City                          State     ZIP Code


          Email or website address



          Who made the payment, if not debtor?




 11.2.    Who was paid or who received the transfer?                   If not money, describe any property transferred             Dates                 Total amount or
                                                                                                                                                         value

         Hoff Law Offices, P.C.                                       Attorney's Fee                                              10/14/2021                       $15,000.00


          Address

         440 Louisiana St 850
         Street


         Houston, TX 77002
         City                          State     ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Johanna Jabinel,14410 Rosehedge Ct, Houston, Texas
         77047




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled
         trust or similar device.
         Do not include transfers already listed on this statement.
         ✔None
         ❑
 12.1.     Name of trust or device                                Describe any property transferred                              Dates transfers         Total amount or
                                                                                                                                 were made               value




           Trustee




Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                   page 5
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                                                                                     number (if known)
                        First Name              Middle Name             Last Name



 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2 years before
         the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and
         transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔None
         ❑
 13.1.    Who received the transfer?                            Description of property transferred or payments                Date transfer      Total amount or
                                                                received or debts paid in exchange                             was made           value




          Address


         Street




         City                         State      ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔Does not apply
         ❑
          Address                                                                                                 Dates of occupancy

 14.1.                                                                                                           From                      To
         Street


         City                         State      ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔No. Go to Part 9.
         ❑
         ❑Yes. Fill in the information below.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 6
 Debtor 1
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                                                                                      number (if known)
                          First Name             Middle Name             Last Name

          Facility name and address                        Nature of the business operation, including type of services the            If debtor provides meals
                                                           debtor provides                                                             and housing, number of
                                                                                                                                       patients in debtor’s care

 15.1.
         Facility name


         Street                                           Location where patient records are maintained(if different from facility      How are records kept?
                                                          address). If electronic, identify any service provider.
         City                      State       ZIP Code                                                                               Check all that apply:
                                                                                                                                      ❑Electronically
                                                                                                                                      ❑Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑No
                  ❑Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔No. Go to Part 10.
         ❑
         ❑Yes. Does the debtor serve as plan administrator?
               ❑No. Go to Part 10.
               ❑Yes. Fill in below:
                         Name of plan                                                                    Employer identification number of the plan

                                                                                                        EIN:        –

                         Has the plan been terminated?
                         ❑No
                         ❑Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or
         transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
         associations, and other financial institutions.
         ✔None
         ❑
          Financial institution name and address               Last 4 digits of account     Type of account             Date account was            Last balance
                                                               number                                                   closed, sold, moved,        before closing
                                                                                                                        or transferred              or transfer

 18.1                                                          XXXX–                       ❑Checking
         Name
                                                                                           ❑Savings
                                                                                           ❑Money market
                                                                                           ❑Brokerage
         Street


                                                                                           ❑Other
         City                          State   ZIP Code



Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 7
 Debtor 1
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                                                                                      number (if known)
                         First Name              Middle Name              Last Name
 19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         ✔None
         ❑
 19.1     Depository institution name and address              Names of anyone with access to it              Description of the contents                    Does debtor
                                                                                                                                                             still have it?

                                                                                                                                                            ❑    No
         Name
                                                                                                                                                            ❑   Yes
         Street

                                                               Address

         City                         State     ZIP Code


 20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor
         does business.
         ✔None
         ❑
 20.1     Facility name and address                            Names of anyone with access to it              Description of the contents                    Does debtor
                                                                                                                                                             still have it?

                                                                                                                                                            ❑    No
         Name
                                                                                                                                                            ❑   Yes
         Street

                                                               Address

         City                         State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or
         rented property.
         ✔None
         ❑
          Owner’s name and address                                    Location of the property                        Description of the property                     Value


         Name


         Street




         City                           State    ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
        affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
        or utilized.



Official Form 207                                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                   page 8
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                                                                                  number (if known)
                     First Name             Middle Name              Last Name

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
     substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑Yes. Provide details below.
       Case title                                    Court or agency name and address                         Nature of the case                            Status of case

                                                                                                                                                           ❑Pending
       Case number
                                                    Name
                                                                                                                                                           ❑On appeal
                                                                                                                                                           ❑Concluded
                                                    Street




                                                    City                          State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental
     law?
      ✔ No
      ❑
      ❑Yes. Provide details below.
       Site name and address                         Governmental unit name and address                       Environmental law, if known                    Date of notice


      Name                                          Name


      Street                                        Street




      City                   State   ZIP Code       City                          State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑Yes. Provide details below.
       Site name and address                         Governmental unit name and address                       Environmental law, if known                    Date of notice


      Name                                          Name


      Street                                        Street




      City                   State   ZIP Code       City                          State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information
      even if already listed in the Schedules.
      ✔None
      ❑




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                page 9
 Debtor 1
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                                                                                 number (if known)
                     First Name            Middle Name             Last Name

          Business name and address                  Describe the nature of the business                        Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.
 25.1.
                                                                                                               EIN:         –
         Name
                                                                                                                Dates business existed
         Street
                                                                                                               From                  To



         City                 State   ZIP Code


 26. Books, records, and financial statements
 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                      Dates of service

 26a.1.
                                                                                                                From                  To
          Name


          Street




          City                                           State                   ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address                                                                                      Dates of service

 26b.1.
                                                                                                                From                  To
          Name


          Street




          City                                           State                   ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ✔None
          ❑
           Name and address                                                                                      If any books of account and records are
                                                                                                                 unavailable, explain why
 26c.1.


          Name


          Street




          City                                           State                   ZIP Code

 26d.    List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
         financial statement within 2 years before filing this case.
         ✔None
         ❑




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 10
 Debtor 1
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                                                                                     number (if known)
                        First Name              Middle Name              Last Name

           Name and address

 26d.1.
          Name


          Street




          City                                                  State                   ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑Yes. Give the details about the two most recent inventories.
          Name of the person who supervised the taking of the inventory                                     Date of             The dollar amount and basis (cost, market, or
                                                                                                            inventory           other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                           State                ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of
     the debtor at the time of the filing of this case.
          Name                               Address                                                                Position and nature of any interest     % of interest, if any


         Robert C. Foran                    9526 BonBrook Bend Lane 77469                                          President,                                            50.00 %

         Lincoln M. Catchings, III          6611 Ivy Heath Lane Houston, TX 77041                                  Vice President,                                       50.00 %

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the
     debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑Yes. Identify below.
          Name                               Address                                                             Position and nature of any         Period during which
                                                                                                                 interest                           position or interest was held


                                                                                                             ,                                       From
                                                                                                                                                     To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on
         loans, stock redemptions, and options exercised?
         ✔ No
         ❑
         ❑Yes. Identify below.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                 page 11
 Debtor 1
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                                                                                      number (if known)
                         First Name             Middle Name              Last Name

          Name and address of recipient                                              Amount of money or description and        Dates                  Reason for providing
                                                                                     value of property                                                the value


 30.1.
         Name


         Street




         City                                         State          ZIP Code


          Relationship to debtor



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         ✔ No
         ❑
         ❑Yes. Identify below.
                Name of the parent corporation                                                          Employer Identification number of the parent corporation

                                                                                                       EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         ✔ No
         ❑
         ❑Yes. Identify below.
                Name of the pension fund                                                                Employer Identification number of the pension fund

                                                                                                       EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
    case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on           10/14/2021
                       MM/ DD/ YYYY




    ✘ /s/ Lincoln M. Catchings, III                                         Printed name                  Lincoln M. Catchings, III
           Signature of individual signing on behalf of the debtor



         Position or relationship to debtor           Vice President



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑Yes




Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 12
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 Fill in this information to identify the case:

 Debtor name                              Preferred Ready-Mix LLC

 United States Bankruptcy Court for the:
                                   Southern District of Texas


 Case number (if known):                                                                                                                      ❑Check if this is an
                                                                                                                                                  amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                                 12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include
claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim
resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete                 Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code           and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                                  creditor contact                debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in total
                                                                                  professional            unliquidated,    claim amount and deduction for value of collateral or
                                                                                  services, and           or disputed      setoff to calculate unsecured claim.
                                                                                  government                               Total claim, if     Deduction for        Unsecured
                                                                                  contracts)                               partially           value of             claim
                                                                                                                           secured             collateral or
                                                                                                                                               setoff
1     Active Radiator                                                             Business debt                                                                             $1,879.84
      3675 Amber Street
      Philadelphia, PA 19134


2     AG Barn Management, LLC                                                     Business debt                                                                           $28,508.80
      PO Box 409
      Mayfield, KY 42066


3     Bank Direct Capital Finance                                                 Business debt                                                                           $17,747.17
      150 N Field Drive Ste 190
      Lake Forest, IL 60045


4     BlueVine Capital                                                            Business Debt                                                                           $13,433.19
      401 Warren St. Suite 300
      Redwood City, CA 94063


5     Cameron Roesle                                                              Judgment Lien                                                                          $180,000.00
      10457 Royal Andrews Drive
      Conroe, TX 77303


6     Con-Tech Manufacturing Inc.                                                 Business debt                                                                           $14,207.85
      67079 170th Avenue
      Dodge Center, MN 55927


7     Deon Wallace                                                                Business debt                                                                           $14,000.00
      2911 Ashlyn Arbor Drive
      Fresno, TX 77545


8     FundThrough USA Inc                                                         Business Debt                                                                             $8,963.54
      260 Spadina Avenue
      Toronto, ON, Canada m5t 2e4,




Official Form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
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Debtor       Preferred Ready-Mix LLC                                                                           Case number (if known)
            Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                          creditor contact                debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in total
                                                                          professional            unliquidated,    claim amount and deduction for value of collateral or
                                                                          services, and           or disputed      setoff to calculate unsecured claim.
                                                                          government                               Total claim, if     Deduction for        Unsecured
                                                                          contracts)                               partially           value of             claim
                                                                                                                   secured             collateral or
                                                                                                                                       setoff
9     Gulfgate Dodge                                                                                                                                                $8,936.22
      7250 Gulf Fwy
      Houston, TX 77017


10 Intuit Quickbooks                                                      Business Debt                                                                           $22,000.00
   2700 Coast Avenue
   Mountain View, CA 94043


11 Lopez Concrete Chipping                                                Business debt                                                                             $4,500.00
   7802 Pecan Villas Drive
   Houston, TX 77061


12 Mai & Na PLLC                                                          Business debt                                                                             $7,027.69
   6588 Corporate Drive Ste 188
   Houston, TX 77036


13 Matthew Tyson                                                          Business debt                                                                           $54,386.53
   5511 Olympiad Drive
   Houston, TX 77041


14 McNielius Truck & Manufacturing                                        Business debt                                                                             $1,171.64
   Company
      14201 Collections Center Drive
      Chicago, IL 60693

15 Medellin Concrete Chipping Ser,                                        Business debt                                                                           $33,900.00
   Inc.
      PO Box 225
      South Houston, TX 77587

16 Rhino Ready Mix LLC                                                    Business debt                                                                           $45,619.00
   6638 Madden Lane
   Houston, TX 77048


17 Texas Truck Parts                                                      Business debt                                                                             $8,000.00
   2802 N Wayside Drive
   Houston, TX 77020


18 Texcon Ready Mix                                                       Business debt                                                                          $444,381.01
   2078 FM 1314
   Porter, TX 77365


19 Wayne Tyson                                                            Business debt                                                                           $30,000.00
   19238 San Solomon Springs Court
   Cypress, TX 77433


20 WEX Bank                                                               Business Debt                                                                           $10,000.00
   Exxon Mobil
   Po Box 4337
   Carol Stream, IL 60197-4337


Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
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B2030 (Form 2030) (12/15)


                                                    United States Bankruptcy Court
                                                                     Southern District of Texas

In re        Preferred Ready-Mix LLC

                                                                                                       Case No.

Debtor                                                                                                 Chapter                 11


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
        that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
        services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as
        follows:

        For legal services, I have agreed to accept ......................................................................................................................................
                                                                                                                                                      $0.00

        Prior to the filing of this statement I have received ...........................................................................................................................
                                                                                                                                             $15,000.00

        Balance Due ................................................................................................................................................
                                                                                                                                                       ($15,000.00)

2.      The source of the compensation paid to me was:

        ❑ Debtor                    ✔ Other (specify)
                                    ❑                          Johanna Jabinel,14410 Rosehedge Ct, Houston, Texas 77047

3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                           ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
        of my law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
        of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
        attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.     Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
               bankruptcy;

        b.     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                  Page 1 of 2
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B2030 (Form 2030) (12/15)


                                                         CERTIFICATION

                     I certify that the foregoing is a complete statement of any agreement or arrangement for
                payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                       10/14/2021                                           /s/ Jessica Hoff
                Date                                     Jessica Hoff
                                                         Signature of Attorney
                                                                                      Bar Number: 24093963
                                                                                      Hoff Law Offices, P.C.
                                                                                        440 Louisiana St 850
                                                                                          Houston, TX 77002
                                                                                       Phone: (832) 975-0366

                                                                        Hoff Law Offices, P.C.
                                                         Name of law firm




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                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                           SOUTHERN DISTRICT OF TEXAS
                                                                 HOUSTON DIVISION

IN RE: Preferred Ready-Mix LLC                                                               CASE NO

                                                                                             CHAPTER 11




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       10/14/2021              Signature                                /s/ Lincoln M. Catchings, III
                                                                       Lincoln M. Catchings, III, Vice President
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                       Active Radiator
                       3675 Amber Street
                       Philadelphia, PA 19134




                       AG Barn Management, LLC
                       PO Box 409
                       Mayfield, KY 42066




                       Alisons Inc
                       1220 Shotwell Street
                       Houston, TX 77020




                       Alisons Inc LLC
                       1220 Shotwell Street
                       Houston, TX 77020




                       AT&T
                       208 S Akard Street
                       Dallas, TX 75202




                       Bank Direct Capital Finance
                       150 N Field Drive Ste 190
                       Lake Forest, IL 60045




                       BlueVine Capital
                       401 Warren St. Suite 300
                       Redwood City, CA 94063




                       Cameron Roesle
                       10457 Royal Andrews Drive
                       Conroe, TX 77303
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                       Campbell Concrete &
                       Materials LLC
                       16155 Park Row Suite 120
                       Houston, TX 77084



                       Cemex Const Materials
                       Houston, LLC
                       TX




                       Cirro Energy
                       2745 Dallas Parkway Suite 200
                       Plano, TX 75093




                       Con-Tech Manufacturing Inc.
                       67079 170th Avenue
                       Dodge Center, MN 55927




                       Deon Wallace
                       2911 Ashlyn Arbor Drive
                       Fresno, TX 77545




                       Robert Foran
                       9526 BonBrook Bend Lane
                       Richmond, TX 77469




                       FundThrough USA Inc
                       260 Spadina Avenue
                       Toronto, ON, Canada m5t 2e4




                       Gulfgate Dodge
                       7250 Gulf Fwy
                       Houston, TX 77017
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                       Intuit Quickbooks
                       2700 Coast Avenue
                       Mountain View, CA 94043




                       Jeff Kaiser, Esq.
                       2211 Norfolk Street Suite 528
                       Houston, TX 77098




                       Lopez Concrete Chipping
                       7802 Pecan Villas Drive
                       Houston, TX 77061




                       Mai & Na PLLC
                       6588 Corporate Drive Ste 188
                       Houston, TX 77036




                       Matthew Tyson
                       5511 Olympiad Drive
                       Houston, TX 77041




                       McNielius Truck &
                       Manufacturing Company
                       14201 Collections Center Drive
                       Chicago, IL 60693



                       Medellin Concrete Chipping
                       Ser, Inc.
                       PO Box 225
                       South Houston, TX 77587



                       Rhino Ready Mix LLC
                       6638 Madden Lane
                       Houston, TX 77048
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                       Robert W. Berleth, Receiver
                       9950 Cypresswood Drive Suite 200
                       Houston, TX 77070




                       Texas Truck Parts
                       2802 N Wayside Drive
                       Houston, TX 77020




                       Texcon Ready Mix
                       2078 FM 1314
                       Porter, TX 77365




                       Verizon Reveal
                       1095 Avenue of the Americas
                       New York, NY 10036




                       Wayne Tyson
                       19238 San Solomon Springs Court
                       Cypress, TX 77433




                       WEX Bank
                       Exxon Mobil
                       Po Box 4337
                       Carol Stream, IL 60197-4337
